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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

   DAYEA KIM,

         Plaintiff,
                                                    Case No. 3:23-cv-441-TJC-JBT
   v.

   PGA TOUR,

         Defendant.


                                     ORDER

         In order to align trial dates and related deadlines between this case and

   Nealis v. PGA Tour, Inc., 3:23-cv-623, the Court is updating the deadlines in

   the Case Management and Scheduling Order, Doc. 24, as follows:

         January 15, 2025 - Deadline for filing the joint pretrial statement and

   all other motions including motions in limine;

         January 22, 2025, at 10:00 a.m. – Date and time of final pretrial

   conference; and

         February 3, 2025, at 9:00 a.m. – Trial term begins.
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         Except as described in this Order, all other deadlines in the Case

   Management and Scheduling Order, Doc. 24, remain in effect.

         DONE AND ORDERED in Jacksonville, Florida the 23rd day of

   January, 2024.




   ddw
   Copies:

   Counsel of record




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